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UNITED STATES

“%., DEPARTMENT OF THE INTERIOR
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Case 3:51-cv-01247-JO-SBC Document 1-1 Filed 01/25/51 PagelD.220 Page1of1

MAP NUMBER ONE (1!)

STATE OF CALIFORNIA
EARL WARREN, GOVERNOR

C. H. PURCELL, DIRECTOR OF PUBLIC WORKS

SAN ONOFRE BLUFF QUADRANGLE

CALIFORNIA-SAN DIEGO CO.

a GEOLOGICAL SURVEY EDWARD HYATT, STATE ENGINEER 7.5 MINUTE SERIES (TOPOGRAPHIC)
117°37'30” , LAGUNA BEACH 18 MI. 117°30’
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Mapped, edited, and published by the Geological Survey © Irrigation or camp supply SCALE. 1:24000 Sheet Seven(7) of Eight (8) we
Control by USGS and USC & GS Oo Unused, domestic or stock 4 0 LMILE ROAD CLASSIFICATION
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Topography from aerial photographs by multiplex methods t LANEI® LAWE
Aerial photographs taken 1946, Field check, 1948 > Destroyed 1000 0 1000 2000 3000 4000 5000 5000 7000 FEET Heavy-duty. . _——— eee TaNEIo cane Improved dirt...
Polyconic projection. 1927 North American datum : 5 0 1 KILOMETER Medium-duty. am m= “een cate “ts Unimproved dirt_eas2sa=
10,000-foot grid based on California coordinate system, = yy EEE ; Loose-surface, graded, or narrow hard-surface =— =
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APPROXIMATE MEAN ry} » N3315—W11730/7.5
DECLINATION, 1948 THIS MAP COMPLIES WITH NATIONAL MAP ACCURACY STANDARDS wee ee 78 PRINTED 1949
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